             Case 1:18-cv-01236-WSD Document 1 Filed 03/23/18 Page 1 of 18



                       UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 Maxum Indemnity Company,                   )
                                            )      CIVIL ACTION FILE
       Plaintiff,                           )      NO. ______________
                                            )
 vs.                                        )
                                            )
 Colliers International – Atlanta, LLC, and )
 Alexander Deitch.                          )
                                            )
        Defendants.                         )

                 COMPLAINT FOR DECLARATORY JUDGMENT

        COMES NOW, Plaintiff Maxum Indemnity Company (“Maxum”) and

petitions this Court for a declaration that Maxum is not required to provide

professional liability insurance coverage to Defendant Colliers International –

Atlanta, LLC, including but not limited to any and all of Defendant Colliers

International – Atlanta, LLC’s past and current employee(s) or officer(s)

(collectively “Colliers International”), and Defendant Alexander Deitch (“Deitch”)

for claims asserted against Colliers International and Deitch by Mattress Firm, Inc.

(“Mattress Firm”), stating as follows:

                           PRELIMINARY STATEMENT

                                         1.

        This is an action for declaratory judgment brought pursuant to the

Declaratory Judgment Act, 28 U.S.C. § 2201 and Rule 57 of the Federal Rules of
                                              1

8878711v.1
             Case 1:18-cv-01236-WSD Document 1 Filed 03/23/18 Page 2 of 18



Civil Procedure to determine an actual case or controversy regarding a professional

liability insurance policy between Maxum, Colliers International, and Deitch.

                                        2.

        A controversy of a judicial nature presently exists among the parties, which

demands a declaration by this Court in order that Maxum may have its rights and

duties under the applicable contract of insurance determined and avoid the possible

accrual of damages.

                                      PARTIES

                                        3.

        Maxum is, and was at all relevant times to this Complaint, a Connecticut

corporation registered and authorized to conduct business in Georgia with its

principle place of business in Hartford, Connecticut. By bringing this action, it

avails itself to the venue and jurisdiction of this Honorable Court.

                                        4.

        Colliers International is, and was at all relevant times to this Complaint, a

Georgia corporation incorporated, registered and authorized to conduct business in

Georgia with its principle place of business in Atlanta, Georgia.

                                        5.

        Colliers International may be served through its registered agent,

Corporation Service Company, 40 Technology Parkway South, #300 Norcross,

                                             2

8878711v.1
             Case 1:18-cv-01236-WSD Document 1 Filed 03/23/18 Page 3 of 18



Georgia, 30092.

                                         6.

        Deitch is, and was at all relevant times to this Complaint, a resident of

Atlanta, Georgia, and domiciled in Atlanta, Georgia.

                                         7.

        Upon information and belief, Dietch may be served at 3344 Peachtree Road

NE, Unit 3405, Atlanta, Georgia 30326.

                            JURISDICTION AND VENUE

                                         8.

        This is an action for declaratory judgment brought pursuant to the

Declaratory Judgment Act, 28 U.S.C. § 2201 and Rule 57 of the Federal Rules of

Civil Procedure to determine an actual case or controversy regarding a professional

liability insurance between the parties as hereinafter more fully appears.

                                         9.

        This action is ripe for adjudication.

                                         10.

        This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 in

that the controversy is between citizens of different states and the amount in

controversy exceeds $75,000, exclusive of interest and costs.



                                              3

8878711v.1
             Case 1:18-cv-01236-WSD Document 1 Filed 03/23/18 Page 4 of 18



                                         11.

        This Court may exercise personal jurisdiction over all of the parties joined in

this action.

                                         12.

        Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because at

least one Defendant is a resident or is domiciled in the county in which this district

court is located.

                             THE INSURANCE POLICY

                                         13.

        Maxum issued a professional liability policy, policy number PFP-6023915-

02, to Colliers International and additional insureds, including but not limited to

Deitch, for an initial period of January 1, 2015 to January 1, 2016, wherein Maxum

would provide insurance coverage for errors and omissions by Colliers

International and its additional insureds, including but not limited to Deitch, in the

performance of services as a real estate agent, real estate broker, real estate

personal assistant, real estate property management, mortgage broker (including

loan servicing), and for construction and project management services for others

for a fee (“Insurance Policy”). A true and correct copy of the Insurance Policy is

attached hereto as Exhibit “A.”



                                           4

8878711v.1
             Case 1:18-cv-01236-WSD Document 1 Filed 03/23/18 Page 5 of 18



                                         14.

        The Insurance Policy is a “claims made and reported” policy, meaning that a

“claim” for “damages” because of the rendering of or failure to render

“professional services” must be reported to Maxum before the end of the reporting

period in order for insurance coverage to be provided by Maxum to Colliers

International and its additional insureds, including but not limited to Deitch. Id.

                                         15.

        Colliers International purchased a supplemental extended reporting period

from February 1, 2016 to February 1, 2017. Id.

                                         16.

        Pursuant to the supplemental extended reporting requirements, Colliers

International and its additional insureds, including but not limited to Deitch, had

through February 1, 2017, to report any claims to Maxum under the Insurance

Policy.

                                         17.

        The Insurance Policy contains several relevant exclusions to providing

commercial general liability coverage.




                                           5

8878711v.1
             Case 1:18-cv-01236-WSD Document 1 Filed 03/23/18 Page 6 of 18



                                        18.

        The Insurance Policy does not apply to “any dishonest, fraudulent, criminal

or malicious act or omission by any ‘insured’ or at the direction of any “insured.”

Id., at Form P056 (08/11) at Section I.2.B.

                                        19.

        The Insurance Policy does not apply to “any gain, profit or advantage to

which the insured is not legally entitled,” “any transaction in which any Insured

has a direct or indirect beneficial ownership interest as a buyer or seller of real

property…,” or “management of property that is owned by a firm in which any

insured has a financial interest or by a firm under the same financial contract as

your business.” Id., at Endorsement E064 (1/1/2009).

                                        20.

        The Insurance Policy does not apply to any claims arising out of any acts or

omissions which are excluded under the Insurance Policy.

                                        21.

        The Insurance Policy does not apply to “any ‘claim’ or ‘suit’ demanding

punitive, exemplary or multiple ‘damages’ (‘damages’ as a means of

punishment)…” Id., at Form P056 (08/11) at Section I.2.O.




                                           6

8878711v.1
             Case 1:18-cv-01236-WSD Document 1 Filed 03/23/18 Page 7 of 18



                         HISTORY OF CLAIM REPORTING

                                        22.

        Colliers International and Deitch seek coverage, including a defense and

indemnity, under the Insurance Policy for the claims asserted by Mattress Firm in

the Underlying Lawsuit.

                                        23.

        In a letter dated March 30, 2016, Mattress Firm advised Colliers

International of a potential lawsuit against Colliers International.    A true and

correct copy of the March 30, 2016, Letter is attached hereto as Exhibit “B.”

                                        24.

        Colliers International did not report the potential claim made in the March

30, 2016, to Maxum until June 29, 2017, after the extended reporting period.

                                        25.

        After receiving notice of the claim and request for coverage from Colliers

International, Maxum, through its under signed counsel, issued a reservation of

rights letter to Colliers International in which Maxum provided notice of its

reservation of rights to contest coverage under the Insurance Policy for the claims

in the Underlying Lawsuit. A true and correct copy of the reservation of rights

letter is attached hereto as Exhibit “C.”



                                            7

8878711v.1
             Case 1:18-cv-01236-WSD Document 1 Filed 03/23/18 Page 8 of 18



                                        26.

        On March 15, 2018, Deitch, through his counsel, transmitted a letter to

Maxum seeking “any and all coverage benefits to which he is entitled under the

policy including the payment of defense costs and the payment of any judgment

that may be entered against him.”        Deitch claims that he was only “recently

informed by Colliers [International] about the existence of the above policy, and he

has promptly acted to comply with any duties that he may have under the policy.”

A true and correct copy of the March 15, 2018, Letter is attached hereto as Exhibit

“D.”

                                        27.

        The Insurance Policy issued by Maxum does not afford coverage for the

claims and damages asserted in the Underlying Lawsuit. Therefore, Maxum has

no duty to defend or indemnify Colliers International or Deitch in a lawsuit filed

by Mattress Firm against Colliers International, Deitch, and other defendants.

                    ALLEGATIONS IN UNDERLYING LAWSUIT

                                        28.

        On October 30, 2017, Mattress Firm filed a formal Complaint in Harris

County, Texas, Case No.: 2017-731196, which initiated the lawsuit against

numerous defendants, including but not limited to Colliers International and Deitch



                                           8

8878711v.1
             Case 1:18-cv-01236-WSD Document 1 Filed 03/23/18 Page 9 of 18



(“Underlying Lawsuit”).         A true and correct copy of the Complaint in the

Underlying Lawsuit is attached hereto as Exhibit “E.”

                                         29.

        On December 19, 2017, an Amended Complaint in the Underlying Lawsuit

was filed against numerous defendants, including but not limited to Colliers

International and Deitch. A true and correct copy of the Amended Complaint in

the Underlying Lawsuit is attached hereto as Exhibit “F.”

                                         30.

        In the Amended Complaint in the Underlying Lawsuit, Mattress Firm asserts

numerous allegations against defendants, including but not limited to Colliers

International and Deitch, on the basis that the defendants engaged in a massive,

nationwide, multi-year fraud, bribery, and kickback scheme related to real estate

brokerage services. Id.

                                         31.

        In the Amended Complaint in the Underlying Lawsuit, Mattress Firm makes

numerous allegations against Colliers International and Deitch entailing fraudulent

and self-serving activities, including but not limited to:

        a.       Providing payments (including offering, arranging, and making

                 payments) of bribes and kickbacks to employees of Mattress Firm in



                                           9

8878711v.1
         Case 1:18-cv-01236-WSD Document 1 Filed 03/23/18 Page 10 of 18



             exchange for retention of Colliers International and Deitch, and

             growing their relationship.

        b.   Providing falsely optimistic sales forecasts to maximize opening of

             stores and to justify above-market rents and longer least terms to co-

             defendant developers in order to generate commission for each lease

             entered into by Mattress Firm and to increase property value for

             subsequent sale of the property.

        c.   Misrepresenting projected per store sales.

        d.   Engaging in conflict of interest transactions.

        e.   Knowing of and allowing “phony” and “bogus” development and

             brokerage fees to be charged to developers.

        f.   Allowing and assisting secretly held interests in properties that would

             become Mattress Firm stores.

        g.   Concealing such fraudulent activities.

        h.   Providing bribes and holding equity interests in other business

             ventures with participating Mattress Firm employees or officers.

        i.   Directing developers to not provide detailed budgets to Mattress Firm

             in order to hide hidden fees or kickbacks.

        j.   Being offered lucrative investment opportunities by co-defendant

             developers and being engaged in commercial bribery.

                                           10

8878711v.1
         Case 1:18-cv-01236-WSD Document 1 Filed 03/23/18 Page 11 of 18



        k.   Expressly and fully authorizing such actions and ratifying the actions

             and representations of Deitch, or implicitly ratifying the actions and

             representations of Deitch. Id.

                                       32.

        In the Underlying Lawsuit, Mattress Firm brings seven causes of action

against Colliers International and/or Deitch, including:

        a.   Fraud;

        b.   Civil Conspiracy;

        c.   Constructive Trust;

        d.   Unjust Enrichment;

        e.   Aiding and Abetting Breach of Fiduciary Duty;

        f.   Negligence; and

        g.   Exemplary Damages. Id.

                                       33.

        In its Prayer for Relief in the Underlying Lawsuit, Mattress Firm seeks

judgment against Colliers International and/or Alexander Deitch, including:

        a.   Actual damages;

        b.   A constructive trust;

        c.   Disgorgement of ill-gotten gain;

        d.   Appropriate equitable relief;

                                         11

8878711v.1
         Case 1:18-cv-01236-WSD Document 1 Filed 03/23/18 Page 12 of 18



        e.    Exemplary damages;

        f.    Prejudgment interest;

        g.    Post-judgment interest;

        h.    All recoverable costs; and

        i.    Such other and further relief, general and special, legal and equitable,

              to which Mattress Firm may show itself to be justly entitled. Id.

           COUNT I: DECLARATORY JUDGMENT
 NO COVERAGE FOR CLAIM REPORTING OUTSIDE OF REPORTING
                        PERIOD

                                        34.

        Maxum restates and incorporates herein by reference each and every

allegation contained in paragraphs 1 through 33 of this Complaint for Declaratory

Judgment as though set forth fully herein.

                                        35.

        Under the terms of the Insurance Policy, Maxum has no obligation to

provide coverage to Colliers Atlanta or Deitch, including a defense to the

Underlying Lawsuit or to indemnify Colliers Atlanta or Deitch, or for any damages

related to the Underlying Lawsuit because neither Colliers Atlanta nor Deitch

timely reported any claim pursuant to the Insurance Policy.

                                        36.

        Maxum requests this Court inquire and declare that it has no duty to provide

                                           12

8878711v.1
         Case 1:18-cv-01236-WSD Document 1 Filed 03/23/18 Page 13 of 18



professional liability insurance coverage to Colliers Atlanta, Deitch, or any other

additional insured under Insurance Policy, including but not limited to any past and

current employee(s) and officer(s), for any and all claims and causes of action

brought by Mattress Firm because neither Colliers Atlanta, Deitch, nor any other

additional insured under the Insurance Policy timely reported any claim pursuant to

the Insurance Policy.

             COUNT II: DECLARATORY JUDGMENT
       NO COVERAGE UNDER FORM P056 (08/11): DISHONEST,
     FRAUDULENT, CRIMINAL OR MALICIOUS ACT OR OMISSION

                                      37.

        Maxum restates and incorporates herein by reference each and every

allegation contained in paragraphs 1 through 36 of this Complaint for Declaratory

Judgment as though set forth fully herein.

                                      38.

        Under the terms of the Insurance Policy, Maxum has no obligation to

provide coverage to Colliers Atlanta or Deitch, including a defense to the

Underlying Lawsuit or to indemnify Colliers Atlanta or Deitch, for any damages

related to the Underlying Lawsuit because Form P056 (08/11) of the Insurance

Policy excludes “any dishonest, fraudulent, criminal or malicious act or omission

by any ‘insured’ or at the direction of any “insured.” See Exhibit A.



                                         13

8878711v.1
         Case 1:18-cv-01236-WSD Document 1 Filed 03/23/18 Page 14 of 18



                                       39.

        Maxum requests this Court inquire and declare that it has no duty to provide

professional liability insurance coverage to Colliers Atlanta, Deitch, or any other

additional insured, including but not limited to any past and current employee(s)

and officer(s), for any and all claims and causes of action brought by Mattress Firm

because Form P056 (08/11) of the Insurance Policy excludes “any dishonest,

fraudulent, criminal or malicious act or omission by any ‘insured’ or at the

direction of any “insured.” Id.

                  COUNT III: DECLARATORY JUDGMENT
             NO COVERAGE UNDER ENDORSEMENT E064 (1/1/2009)

                                       40.

        Maxum restates and incorporates herein by reference each and every

allegation contained in paragraphs 1 through 39 of this Complaint for Declaratory

Judgment as though set forth fully herein.

                                       41.

        Under the terms of the Insurance Policy, Maxum has no obligation to

provide coverage to Colliers Atlanta or Deitch, including a defense to the

Underlying Lawsuit or to indemnify Colliers Atlanta or Deitch, for any damages

related to the Underlying Lawsuit because Endorsement E064 (1/1/2009) of the

Insurance Policy excludes “any gain, profit or advantage to which the insured is

not legally entitled,” “any transaction in which any Insured has a direct or indirect
                                         14

8878711v.1
         Case 1:18-cv-01236-WSD Document 1 Filed 03/23/18 Page 15 of 18



beneficial ownership interest as a buyer or seller of real property…,” or

“management of property that is owned by a firm in which any insured has a

financial interest or by a firm under the same financial contract as your business.”

Id.

                                       42.

        Maxum requests this Court inquire and declare that it has no duty to provide

professional liability insurance coverage to Colliers Atlanta, Deitch, or any other

additional insured, including but not limited to any past and current employee(s)

and officer(s), for any and all claims and causes of action brought by Mattress Firm

because Endorsement E064 (1/1/2009) of the Insurance Policy excludes “any gain,

profit or advantage to which the insured is not legally entitled,” “any transaction in

which any Insured has a direct or indirect beneficial ownership interest as a buyer

or seller of real property…,” or “management of property that is owned by a firm

in which any insured has a financial interest or by a firm under the same financial

contract as your business.” Id.

                  COUNT IV: DECLARATORY JUDGMENT
                 NO COVERAGE FOR NEGLIGENCE CLAIM

                                       43.

        Maxum restates and incorporates herein by reference each and every

allegation contained in paragraphs 1 through 42 of this Complaint for Declaratory

Judgment as though set forth fully herein.
                                          15

8878711v.1
         Case 1:18-cv-01236-WSD Document 1 Filed 03/23/18 Page 16 of 18



                                       44.

        Maxum has no obligation to provide coverage to Colliers Atlanta, including

a defense to the Underlying Lawsuit or to indemnify Colliers Atlanta, for the

Negligence claim against Colliers Atlanta because such claim arises out of acts

and/or omissions excluded under the Insurance Policy.

                                       45.

        Maxum requests this Court inquire and declare that it has no duty to provide

professional liability insurance coverage to Colliers Atlanta and any other

additional insured, including but not limited to any past and current employee(s)

and officer(s), for the Negligence claim against Colliers Atlanta because such

claim arises out of acts and/or omissions excluded under the Insurance Policy.

           COUNT V: DECLARATORY JUDGMENT
 NO COVERAGE UNDER FORM P056 (08/11): EXEMPLARY DAMAGES

                                       46.

        Maxum restates and incorporates herein by reference each and every

allegation contained in paragraphs 1 through 45 of this Complaint for Declaratory

Judgment as though set forth fully herein.

                                       47.

        Under the terms of the Insurance Policy, Maxum has no obligation to

provide coverage to Colliers Atlanta or Deitch, including a defense to the

Underlying Lawsuit or to indemnify Colliers Atlanta or Deitch, for any exemplary
                                         16

8878711v.1
         Case 1:18-cv-01236-WSD Document 1 Filed 03/23/18 Page 17 of 18



damages because exemplary damages are excluded under the Insurance Policy.

                                       48.

        Maxum requests this Court inquire and declare that it has no duty to provide

professional liability insurance coverage to Colliers Atlanta, Deitch, or any other

additional insured under Insurance Policy, including but not limited to any past and

current employee(s) or officer(s), for any cause of action seeking exemplary

damages by Mattress Firm because exemplary damages are excluded under the

Insurance Policy. Id.

                             PRAYER FOR RELIEF

        WHEREFORE, Maxum prays:

        (a)   That summons be issued requiring Colliers International appear as

              provided by law to Answer this Complaint for Declaratory Judgment;

        (b)   That summons be issued requiring Deitch appear as provided by law

              to Answer this Complaint for Declaratory Judgment;

        (c)   That the Court determine that Maxum does not have a duty to provide

              liability insurance coverage to Colliers International under the

              Insurance Policy;

        (d)   That the Court determine that Maxum does not have a duty to provide

              liability insurance coverage to Deitch under the Insurance Policy;

        (e)   That the Court determine that Maxum does not have a duty to provide

                                          17

8878711v.1
         Case 1:18-cv-01236-WSD Document 1 Filed 03/23/18 Page 18 of 18



              liability insurance coverage to any other additional insured, including

              but not limited to past and current employee(s) and officer(s), of

              Colliers International, under the Insurance Policy;

        (f)   Any and such other and further relief this Court deems just a proper.

        Respectfully submitted this 23rd day of March, 2018.

                                            WILSON, ELSER, MOSKOWITZ,
                                            EDELMAN & DICKER LLP

950 East Paces Ferry Road N.E.              /s/ Jeffrey Melcher
Suite 2850
Buckhead Tower at Lenox Square              Jeffrey W. Melcher
Atlanta, Georgia 30326                      Georgia Bar No. 501180
(470) 419-6650                              Frank I. Chao
(470) 419-6651(Fax)                         Georgia Bar No. 949116
jeffrey.melcher@wilsonelser.com
frank.chao@wilsonelser.com                  Attorneys for Plaintiff Maxum Indemnity
                                            Company




                                          18

8878711v.1
